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                       IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

                                                       )
In re:                                                 ) Chapter 11
                                                       )
GIGAMONSTER NETWORKS, LLC, et al.,1                    ) Case No. 23-10051 (JKS)
                                                       )
                                 Debtors.              ) (Jointly Administered)
                                                       )
                                                          Ref. Docket Nos. 441, 457

                OMNIBUS ORDER GRANTING: (I) FIRST QUARTERLY
             APPLICATION FOR COMPENSATION AND REIMBURSEMENT
              OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
          AS COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION,
       FOR THE PERIOD FROM JANUARY 17, 2023 THROUGH MARCH 31, 2023;
    AND (II) SECOND INTERIM FEE APPLICATIONS FOR THE PROFESSIONALS OF
     THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
            FROM APRIL 1, 2023 THROUGH AND INCLUDING JUNE 30, 2023

                Upon consideration of (i) the First Quarterly Application for Compensation and

Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Counsel for the Debtors

and Debtors in Possession, for the Period from January 17, 2023 through March 31, 2023 [D.I.

441] (the “PSZJ Application”) and (ii) the Second Interim Fee Applications for the Professionals

of the Official Committee of Unsecured Creditors for the Period From April 1, 2023 Through

and Including June 30, 2023 [D.I. 457] (the “Committee Applications”, together with the PSZJ

Application, the “Applications”); and the Court having jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334; and notice of the Applications, and any hearing on the Applications,

having been adequate under the circumstances; and all persons with standing having been



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  The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.
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afforded the opportunity to be heard on the Applications; and good cause appearing to grant the

relief requested in the Applications, it is hereby

                 ORDERED that the Applications are GRANTED, on an interim basis; and it is

further

                 ORDERED that the Debtors shall pay to Pachulski Stang Ziehl & Jones (“PSZJ”)

the sum of $2,229,904.75 as compensation for necessary professional services rendered, and

actual and necessary expenses in the amount of $31,651.72 for a total of $2,261,556.47 for

services rendered and disbursements incurred by PSZ&J for the period January 17, 2023 through

March 31, 2023, less any amounts previously paid in connection with the monthly fee

applications; and it is further

                 ORDERED that the Debtors shall pay to Faegre Drinker Biddle & Reath LLP

(“Faegre”) the sum of $160,271.50 as compensation for necessary professional services

rendered, and actual and necessary expenses in the amount of $1,107.10 for a total of

$161,378.60 for services rendered and disbursements incurred by Faegre for the period April 1,

2023 through June 30, 2023, less any amounts previously paid in connection with the monthly

fee applications; and it is further

                 ORDERED that the Debtors shall pay to M3 Advisory Partners, LP (“M3”) the

sum of $48,865.00 as compensation for necessary professional services rendered, and actual and

necessary expenses in the amount of $449.95 for a total of $49,314.95 for services rendered and

disbursements incurred by M3 for the period March 1, 2023 through April 30, 2023, less any

amounts previously paid in connection with the monthly fee applications; and it is further



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                 ORDERED that this Court retains jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.




                                                            J. KATE STICKLES
       Dated: August 17th, 2023
                                                            UNITED STATES BANKRUPTCY JUDGE
       Wilmington, Delaware



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